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The Honorable Leo T. Sorokin
United States District Court

John Joseph Moakley Courthouse
1 Courthouse Way

Boston, MA 02210

RE: Ross McLellan

Saturday, September 1, 2018
Dear Honorable Judge Sorokin:

My name is Brendan Burke and I am writing on behalf of Ross McLellan. I have been fortunate to
know Ross for close to 30 years. We both attended Stonehill College between 1990-94. During our
time at Stonehill Ross established himself as one of the brightest students in our class. He especially
excelled in the business school where he majored. But what impressed me the most about Ross at
Stonehill was his humility and kindness to others. It did not matter whether you were the janitor of our
dormitory or the most popular student on campus. Ross treated everyone with the same respect, dignity
and graciousness. His personality was infectious because of this. Everyone loved Ross. What also
drew me to Ross was his selflessness. As a student I struggled academically. Ross knew this and
helped me as a result. My junior year I decided to take on Business Administration as a minor with the
encouragement of Ross. I was concerned I would not be able to take an additional nine business classes
my junior and senior year but Ross encouraged me to do it. With his help I graduated with a 3.0+ in
my business minor. There is no doubt in my mind I made it through a business minor with the help of
Ross. He tutored me during his free time and helped me with final exams. This is just one of many
examples of how Ross helped others.

Another example of Ross’ selflessness entailed my housemates. I remember my senior year leaving my
town house on a Thursday evening on my way to enjoy one of the last nights. On my way out of the
townhouse that evening, Ross was departing the opposite direction with a backpack. I asked, “where
are you going?” His response, “to the Computer Center to put together everyone’s resume.” Ross took
the hand-written resumes for all of my housemates and put them into a document to help them find
jobs. Again, Ross always put others above himself. He did this back then and still does to this day.

After graduating from Stonehill I moved to Hingham, Massachusetts, the same town Ross and his
family live in. Living in Hingham with Ross has had a positive impact on my life as an adult. Ross is a
model father and husband. He prioritizes his wife Lisa and four children over everything. Every time I
ask Ross to meet for a drink or to catch up, he’s not able to because he is spending time with his
children. In addition, Ross volunteers’ countless hours of time as a hockey and baseball coach. He’s
looked at as a leader in the town as a result of volunteering and mentoring in Hingham's youth sports
programs. The time Ross spends focusing on giving back to the town and being an amazing father
motivates me to be a better person. Especially when it comes to the youth in our town. Every Fourth
of July Ross and Lisa host friends for a party. All the kids from Ross’ neighborhood attend as well. I
enjoy attending just to see the joy all the kids get out of it. There is a line of kids outside the pool
where Ross stands in the pool and throws a ball to each kid for hours. I look at the joy Ross puts on
those kids faces. Everything Ross does is about making sure the people around him have more than he
does. This epitomizes who Ross is as a person. Someone who puts everyone else above himself.
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Respectfully.

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Brendan Burke
Vice President

